
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 95-1594

                             DIANE WOJCIK, ETC., ET AL.,

                               Plaintiffs, Appellants,

                                          v.

                          TOWN OF NORTH SMITHFIELD, ET AL.,

                                Defendants, Appellees.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND

                    [Hon. Ronald R. Lagueux, U.S. District Judge]
                                             ___________________

                                 ____________________

                                        Before

                                Cyr, Boudin and Stahl,

                                   Circuit Judges.
                                   ______________

                                 ____________________

            Miriam Weizenbaum with whom Amato A. DeLuca and Mandell, DeLuca  &amp;
            _________________           _______________     __________________
        Schwartz, Ltd. were on brief for appellants.
        ______________
            Andrew B.  Prescott with  whom Steven M.  Richard and  Tillinghast
            ___________________            __________________      ___________
        Collins &amp; Graham were on brief for appellees Rhode Island  Rape Crisis
        ________________
        Center, Inc., Marion Marceau and Carl Costanza.
            Kathleen M. Powers with whom Marc DeSisto and DeSisto Law  Offices
            __________________           ____________     ____________________
        were on  brief  for  appellees Town  of  North  Smithfield,  Henrietta
        Delage,  Christine  Davidson,  Lorraine  Nault, Richard  Smith,  Terri
        Leoni, Richard Brady, Charles T. Shunney and Deborah Mancuso.


                                 ____________________

                                   February 1, 1996
                                 ____________________




















                 Per Curiam.    In the  district  court, John  and  Diane
                 __________

            Wojcik filed a  32-count complaint including claims  under 42

            U.S.C.    1983 and  under state law for  an array of offenses

            including  kidnapping.  The  defendants included the  Town of

            North Smithfield, the  Rhode Island Rape Crisis  Center, Inc.

            ("Crisis  Center") and a number of school officials, teachers

            and others.   All of these claims derived from two reports of

            possible child  abuse, one  initiated by  a  teacher and  the

            other by a Crisis Center employee teaching a special class in

            school.  The facts are set out at some length in  Chief Judge

            Lagueux's  thorough  opinion  in  Wojcik  v.  Town  of  North
                                              ______      _______________

            Smithfield, 874 F.  Supp. 508 (D.R.I.  1995), and we  confine
            __________

            ourselves to a skeletal summary.

                 The  first incident occurred in March 1990 in connection

            with a program conducted by  the Crisis Center on child abuse

            and  other  topics  for  sixth  grade  children  at  a  North

            Smithfield elementary school.  The Wojciks' daughter Mary was

            a student  in the  class.   Based  on  her reactions  to  the

            program  and what  she  said,  the  Crisis  Center  "teacher"

            advised the  Rhode Island  Department of  Children and  Their

            Families ("DCF") that  she suspected that  Mary might be  the

            victim  of child  abuse  in the  form  of excessive  corporal

            discipline.   A  DCF investigator  visited  the Wojcik  home,

            asked questions, and concluded that no abuse had occurred.





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                 The second incident, involving a different teacher and a

            different  Wojcik  child,  occurred almost  a  year  later in

            January 1991.   The child, Katherine Wojcik,  made statements

            to her  fifth grade teacher  that led the teacher  to believe

            that excessive  physical punishment  was  being used  against

            Katherine.  Later, reading journal entries made by Katherine,

            the teacher's concerns grew, and she and the school principal

            jointly  called DCF.   Another DCF investigation  occurred in

            January  1991.    After  talking  to the  Wojciks  and  their

            children,  DCF  closed  this  case  as  well.    The  lawsuit

            followed.

                 In January  1995, the  district  court on  a motion  for

            summary  judgment dismissed a  number of the  Wojciks' claims

            against  various defendants.    874  F. Supp.  at  530.   The

            remaining claims were tried in April and May 1995, but at the

            close of  the plaintiffs'  case, the  district court  granted

            judgment as a matter of law under Fed. R. Civ. P. 50 in favor

            of the remaining  defendants on all  remaining claims.   From

            the  bench Judge Lagueux delivered a substantial oral opinion

            that  is unreported.  These appeals followed challenging both

            the summary judgment and the directed verdict.

                 So  far  as  the  reports to  DCF  were  concerned,  the

            district court concluded  that those  defendants involved  in

            the making of the reports acted reasonably and in good faith.

            As  to   the  section  1983   claims,  these   determinations



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            established  both the  lack  of  a constitutional  violation,

            DeCosta v. Chabot, 59  F.3d 279, 280 (1st Cir. 1995), and the
            _______    ______

            presence  of qualified immunity.   Harlow v.  Fitzgerald, 547
                                               ______     __________

            U.S. 800 (1982).   As for the state claims,  Rhode Island law

            requires  anyone with reasonable cause to suspect child abuse

            to report  it to DCF  and provides that  a good  faith report

            creates immunity to  a civil or criminal suit.   Rhode Island

            General Laws    40-11-3(a), -4.  The district judge found the

            reports  were  protected under  this provision  against state

            claims based on the reports.

                 On  appeal, the Wojciks  argue cogently that  the Crisis

            Center    counselor,   and    later   Katherine's    teacher,

            misunderstood what the children were saying; and, in the case

            of the journal  entries, we are told that  Katherine now says

            that the  entries were  inaccurate.   But state law  required

            reports to be  made if a reasonable suspicion  existed; it is

            DCF's   role--not    the   teacher's--to   carry    out   the

            investigation; and nothing in this record seriously  suggests

            any culpable  mishandling  or malice  in  the filing  of  the

            reports with DCF.  

                 The  only novel  element in the  claims is  the Wojciks'

            charge  that  the  reports aside,  the  Fourth  Amendment was

            violated when school  officials transported Katherine by  car

            from one  school to another  to permit a DCF  investigator to

            talk with her about the  second incident.  The Wojcik sisters



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            were in different  schools, and the school  officials thought

            that   it  would  be   more  comfortable,  in   a  manifestly

            uncomfortable  situation, if the  children were together when

            questioned.   Katherine was upset  by the trip and  went with

            reluctance, if  not actual  resistance.  It  is on  this trip

            that  the   Wojciks  also   based  their  kidnapping,   false

            imprisonment and assault claims.

                 The  Fourth Amendment has been applied to public schools

            officials,  primarily   in  the   investigation  of   student

            misconduct  or  crime.   E.g.,  Vernonia  School  District v.
                                     ____   __________________________

            Alton, 115 S. Ct. 2386 (1995); New Jersey v. T.L.O., 469 U.S.
            _____                          __________    ______

            325  (1985).  The Fourth Amendment, however, protects against

            unreasonable seizures.  Nothing in  the present facts made it
            ____________

            unreasonable for the school, acting in loco parentis, to move
                                                __ ____ ________

            one  of the children from one school to another school in the

            vicinity,  so that both children could be questioned together

            by a  state official following  upon a possible  abuse report

            made by one  of the teachers.   The claim  fails both on  the

            merits and the qualified immunity grounds.  

                 Although  the Wojciks renew  their many state  claims on

            appeal, the principal weight of their brief is on the federal

            claims that we have just discussed.  The state claims made by

            the  Wojciks are  largely answered  by  the district  court's

            determinations  of  reasonableness  and  good  faith.     The

            district  court  discussed  the  state  claims  both  in  its



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            published opinion  and its oral  one, and we have  nothing to

            add to the  discussion.  874 F. Supp. at 524-25.  However the

            state  immunity statute may  be construed, it  clearly covers

            reports made reasonably and in good faith.
                                    ___

                 The district court, of course, was not the  fact finder.

            In  granting summary judgment, its  rulings were based on the

            lack  of  material  facts  in dispute;  and  in  granting the

            directed  verdict, the  court's  rulings  determined that  no

            reasonable jury could find  that the conduct in  question was

            unreasonable or that  the defendants acted in bad  faith.  We

            too think  that the  material facts  were essentially  beyond

            reasonable  dispute.  The Wojciks say that the reasonableness

            of the  defendants' conduct is  a proper issue for  the jury;

            but issues of characterization, like issues of raw  fact, are

            properly resolved by  the court when no reasonable jury could

            find otherwise.

                 We  appreciate the Wojciks'  sense of outrage  that they

            have been subject to two embarrassing inquiries that found no

            merit to any charge of child abuse.   But there is no way for

            the government to protect  children without making  inquiries

            that in many cases  do turn out to be baseless;  so, too, the

            prosecution of crimes  leads in some cases  to acquittals and

            intrusive  tax audits sometimes  produce refunds.   Where the

            government  officials act reasonably and in good faith, there





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            is usually no federal remedy.  If the Wojciks were encouraged

            to think otherwise, their advisors were mistaken.  

                 Official  misconduct  does  occur  and  local  officials

            sometimes  do act  out of  malice or  incompetence.   We have

            ourselves  reversed the district court where we thought there

            was enough suspicion of official misconduct to defeat summary

            judgment or  to require a section  1983 case to  proceed to a

            jury.   Rubinovitz v.  Rogato, 60 F.3d  906 (1st  Cir. 1995).
                    __________     ______

            But here Judge Lagueux was scrupulously  careful:  he granted

            summary  judgment only on certain claims and after exhaustive

            discussion; and on the balance  of the case conducted a trial

            that other  judges might well have deemed  unnecessary to the

            point where he concluded that the claims were hopeless.  With

            that, the Wojciks will have to be content.

                 There  is a  substantial question  whether the  Wojciks'

            appeal from  the  summary judgment  order was  timely, and  a

            motion to  dismiss that appeal  is before us.   The notice of

            appeal  was filed  late  and  the  Crisis  Center  defendants

            contest on appeal  the district court's finding  of excusable

            neglect in allowing the Wojciks' belated motion to extend the

            time to appeal  under Fed.  R. App.  P. 4(a)(4).   This is  a

            difficult question, see Gochis v.  Allstate Ins. Co., 16 F.3d
                                ___ ______     _________________

            12, 15 (1st Cir. 1994), but  we conclude that it need not  be

            addressed   because  the  affirmance   on  the  merits  amply

            vindicates the interests of those defendants.



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                 Affirmed.
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